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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                          FILED
                                        AUSTIN DIVISION
                                                                               20140CT15 PH      2: 17

 ROBERT LOGAN, AS PERSONAL                                                           W 1is1
                                                  §                            ES1ERN OfS1RC1 OFCOURT
                                                                                                 IEXAS
 REPRESENTATIVE OF THE ESTATE                      §
 OF LAURA ANN LOGAN-CEARLEY,                       §
 AND MARGUERITE BICKNELL-                          §
 LOGAN,                                            §
      PLAINTIFFS,                                  §
                                                   §
 V.                                                §     CAUSE NO.     1:   14-CV-452-LY
                                                   §
 EXPRESS SCRIPTS, INC. F/K/A                       §
 MEDCO, INC.,                                      §
      DEFENDANT.                                   §


                                       FINAL JUDGMENT

        Before the court in the above-styled and numbered cause is the Plaintiffs' Notice of Rule 41 A

(sic) Voluntary Dismissal filed October 14, 2014 (Clerk's Doc. No. 11), dismissing without

prejudice all claims in this action. The court has reviewed the Plaintiffs' notice, and pursuant to

Federal Rules of Civil Procedure 41(a) and 58,

        IT IS HEREBY ORDERED that the above numbered cause is DISMISSED WITHOUT

PREJUDICE.

        IT IS FURTHER ORDERED that the parties bear their own costs of court and attorney's

fees.

        IT IS FINALLY ORDERED that this case is CLOSED.

        SIGNED this              day of October, 2014.
